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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                              MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                            CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



       [PROPOSED] ORDER GRANTING MOTION FOR DISMISSAL OF
 ASTRAZENECA PHARMACEUTICALS LP AND ZENECA INC. WITH PREJUDICE


         The Motion for Dismissal of AstraZeneca Pharmaceuticals LP and Zeneca, Inc.

(“Defendants”) with Prejudice is hereby GRANTED.

         Defendants are hereby dismissed from the above-referenced action.

         The parties shall each bear their own costs.

         This dismissal has no effect on the State of Arizona’s claims or allegations against any

parties other than Defendants.




         SO ORDERED this ___ day of __________, 2010.




                                   HON. PATTI B. SARIS, USDJ




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                                CERTIFICATE OF SERVICE


        I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
13th day of October, 2010.


                                              By        /s/ Steve W. Berman
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                                              Seattle, WA 98101
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